
In re Territo, Peter; Kennedy, Steven; London Market Insurers; American Motorist Ins. Co.; Commercial Union Ins. Co.; Highlands Insurance Co.; Travelers Indemnity Co.; O’Donnell, James; Chan-trey, John; — Defendants; Applying for Writ of Certiorari and/or Review, Parish of Jefferson, 24th Judicial District Court Div. J, No. 424-010 &amp; other cases; to the Court of Appeal, Fifth Circuit, Nos. OO-CA-344 THRU 00-CA-856, OO-CA-692.
Denied.
LOBRANO, J., recused.
VICTORY, J., would grant the writ.
